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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
PROTESTERS IN SUPPORT OF BLACK )
LIVES et al.,                      )
                                   )                      No. 20–CV–0685
              Plaintiffs,          )
                                   )
                                   )                      The Charles R. Norgle
CITY OF CHICAGO et al,             )                      Magistrate Jeffrey T. Gilbert
                                   )
                       Defendants. )
       PLAINTIFFS’ SECOND UNOPPOSED MOTION TO RESET DEADLINES
        The Plaintiffs move this Court to reset the deadlines in the above captioned matter. Counsel

for Defendants have authorized undersigned counsel to represent to the Court that the Defendants

have no objection to this request. In further support of this motion, the Plaintiffs state as follows:

        1.      Plaintiffs’ complaint alleges that individual Chicago Police Department (CPD)

officers and the City of Chicago violated the constitutional and statutory rights of people who,

during the summer of 2020, protested police violence and racism in the streets of Chicago. The

complaint includes detailed Monell allegations.

        2.      On June 4, 2021, this Court granted the Parties’ Joint Motion to reset deadlines.

 (Doc. 52). The Plaintiffs requested additional time to file a second amended complaint and

 specifically intend to incorporate in the second amended complaint factual allegations related to

 their Monell claims. Since the Plaintiffs filed their first amended complaint, the City of Chicago has

 issued two reports related to the Plaintiffs’ Monell claims. The first, After Action Report: The Chicago

 Police Department’s Response to Civil Unrest Between May 29, 2020 and June 12, 2020,

 https://home.chicagopolice.org/wp-content/uploads/2021/02/AAR_FINAL_2-4-21.pdf (last

 visited April 7, 2021), was published by the Chicago Police Department in February 2021 and

 describes CPD’s after action review of the Departments’ response to protest activity. The second

 is a 137-page report issued by the Office of the Inspector General for the City of Chicago. The


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OIG report provides an “in-depth review of the period of May 29 through June 7. . . (and) aims to

present to the extent possible based on the information and material available, a comprehensive

account of the facts, including how involved parties, members of the public, CPD’s rank and file

and CPD’s command staff, among others experienced the protests and unrest.” OIG Report on

Chicago’s Response to George Floyd Protests and Unrest, p. 6. https://igchicago.org/wp-

content/uploads/2021/02/OIG-Report-on-Chicagos-Response-to-George-Floyd-Protests-and-

Unrest.pdf (last visited April 7, 2021). Additionally, the Independent Monitoring Team (IMT)

responsible for overseeing the Chicago Police Department’s compliance with a federal consent

decree that contains provisions relating to inter alia use of force, impartial policing, and officer

accountability conducted its own review of the CPD’s protest response. See State of Illinois v. City of

Chicago, 17cv 6260, Notice Regarding Special Report, Doc. 839. The 464-page IMT report was

released on July 20, 2021. The Plaintiffs require additional time to view the IMT report and

determine which findings should be included in the second amended complaint.

       3.      Plaintiffs have notified the Defendants about their intent to seek leave to file a

second amended complaint on or before September 10, 2021. The Defendants will not object to

this motion. Assuming the Court permits the filing of a second amended complaint, the

Defendants request that the Court permit them to answer or otherwise plead within 60 days of that

filing. For the reasons stated more fully above, the Parties respectfully request that this Court strike

the current deadlines and request that this Court reset the pending deadlines as follows:

   •   On or before September 10, 2021: The Plaintiffs will file a motion for leave to file a second
       amended complaint and a proposed second amended complaint;
   •   60 days after the Plaintiffs file their second amended complaint: The Defendants will answer or
       otherwise plead;
   •   30 days after the Defendants’ responsive pleading: The Parties will file a joint status report.




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Respectfully submitted,

/s/ Sheila A. Bedi
One of Plaintiffs’ Counsel


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